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                          EXHIBIT A
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                                   [Emblem: Republic of Cape Verde]
                                    REPUBLIC OF CAPE VERDE
                              COURT OF THE JUDICIAL DISTRICT OF SAL
                                        CRIMINAL COURT
                                          Tel/Fax: 2411209

                                                      Decision

              The Public Prosecutor's Office came, through the learned support and furtherance of page 1, to
     promote the judicial hearing and the decision to validate and maintain the detention, in conjunction and
     combined with Articles 4/2, 29, 38, 39, 53/5, 62.64 of Law No. 6 / VIII / 2011 dated 29th August (Law
     of International Judicial Co-operation on Criminal Matters - LCJIMP) and 78, 259, 262, 272 and 274
     all from the CPP of ALEX NAIN SAAB MORAN, claiming the constant in that promotion which is
     here fully reproduced.

              It is clear from the provisional detention process, the letter sent to the District Attorney of this
     District by the Attorney General of the Republic (PGR), the order issued by the PGR of provisional
     detention for extradition, the referral by the National Director of the Judicial Police to the PGR Office
     of the international arrest warrant for the aforementioned citizen, the red alert arrest warrant issued by
     INTERPOL against the citizen Alex Nain Saab Moran, the certificate of his detention, the arrest report,
     the copy of his passport, the health declaration with details of the crew and passengers issued by the
     General Directorate of Emigration of the Bolivarian Republic of Venezuela, the communication made
     by the INTERPOL Office with the PGR Office, the arrest warrant issued by the Florida Court,
     indictment and photographs, whose contents are fully reproduced here.

               The Law of International Judicial Co-operation on Criminal Matters – LCJIMP, determines that
     there should be mutual legal assistance and reciprocity in criminal matters and that Cape Verde is bound
     not only by its domestic laws but also by the international treaties, conventions and agreements of which
     it is a party and has ratified (Articles 1, 3 and 4).

             The aforementioned accused or formal suspect has international arrest warrants pending against
     him, due to an accusation against him in the Florida Court. In his statements, he said that he learned
     from the news of these accusations that when he was arrested, he was explained the reason for the arrest,
     which is because there is an arrest warrant issued by INTERPOL.

              The Law of International Judicial Co-operation on Criminal Matters – LCJIMP, establishes
     that, in the event of an emergency (Article 38) and as a prior act of a formal request for extradition,
     provisional detention of the person to be extradited may be requested.

              Before the existing international warrant against the accused or formal suspect due to charges
     for facts that constitute a crime both in the USA and in Cape Verde, facts that have in our country, a
     penal framework of up to 12 years in prison, the national authorities have been informed that the accused
     would be on a flight that would be charged on this island, in view of such information, as well as the
     previously existing warrant, he would be detained by the authorities who had jurisdiction, presented in
     due time to the court, heard in the presence of the Public Prosecutor, constituted agent and interpreter,
     under the combined terms of Articles 6, 8, 78 and 88 of the Code of Criminal Procedure - CPP.
                                                                                                                1
                                                                                           (initials – illegible)
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                                   [Emblem: Republic of Cape Verde]
                                    REPUBLIC OF CAPE VERDE
                              COURT OF THE JUDICIAL DISTRICT OF SAL
                                        CRIMINAL COURT
                                          Tel/Fax: 2411209
             It follows from the aforementioned law that the accused or formal suspect shall be heard by the
     Court of Appeal, in casu of Barlavento, however, due to the current situation, it would not be possible
     within the legally prescribed period to submit it to the Court of Appeal, which is why the provisions in
     Article 53/5 and 6 of the aforementioned law was implemented. Therefore, I declare his detention valid.
             Let us now look at his maintenance, because the question that arises is whether until the accused
     or formal suspect is present at the Court of Appeal, his detention should be maintained or another
     enforcement measure applied (Articles 38/6 and 39 of the LCJIMP - Law of International Judicial Co-
     operation on Criminal Matters).

             The accused or formal suspect came on a plane from Venezuela bound for Iran. He confirmed
     that he was in the country only in passing and that he was traveling as a diplomatic agent of the
     Bolivarian Republic of Venezuela. Were it not for the information and the international warrant issued,
     the accused or formal suspect would continue his journey normally, because he admits he was aware of
     such charges against him. Given the accused o fo mal       ec way of traveling, it is clear that he has
     the knowledge and the means to travel / transport smoothly and at any time internationally, as the
     aforementioned plane does not belong to commercial flights and, not even the current situation of the
     Pandemic kept him in his country of origin or in his country of residence.

              The formal suspect is accused of having committed crimes of money laundering and corruption,
     and given the seriousness of the accusation, the way the accused was detained and the existing
     international warrant against him, we believe that there is no justification to change the provisional
     detention measure, as nothing to date has been added to the records in that sense. Despite the defense
     alleging that he has health problems, no document was in the file to attest to this proposition, and even
     were it so, the local authorities have to ensure his physical well-being.

             Thus, in the combined terms of the aforementioned articles of the International Judicial
     Cooperation Law on Criminal Matters, I determine that the defendant's provisional detention be
     maintained, under the terms and time frames established in that Law (Articles 29, 38, 39, 53/5 and 6,
     62 and 64). That is why I order him to be taken to the prison establishment of this local island where he
     must wait until it is possible to take him to the São Vicente Court of Appeal, under the legal terms.

             I also order the Public Prosecutor to arrange for transport and presentation to the Court with the
     utmost urgency.
             Issue conduct warrants.
             Refer these records to the Public Prosecutor.
             Notify.
     Espargos, 14th June 2020

                                                        The Judge
                                                       (Signature)
                                              Adalgiza (illegible) dos Santos
                                                                                                             2
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                         EXHIBIT B
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    Proceedings: Habeas Corpus
    Plaintiff: Alex Naim Moran Saab
    Court: Supreme Court of Justice


    MOST HONORABLE MADAM
    PRESIDENT OF THE SUPREME COURT OF JUSTICE

    YOUR HONOR,

    PRAIA, 17 June 2020

    ALEX NAIM MORAN SAAB, id, in the proceedings, currently held at the Central Prison at Ribeirinha, Mindelo, S.
    Vicente, hereby and in the terms of articles 18.c) and following of the CPP (Code of Penal Procedure), requests
    HABEAS CORPUS, under the following terms and for the following reasons:

        1.  The Plaintiff was detained on 12 June 2020 at 19 hours and 28 minutes, on the Island of Sal, Cape Verde,
            hereinafter the RCV [Republic of Cape Verde],
        2. allegedly on the grounds of the existence, on 13 June 2020 (cf. Doc. 1), of an Interpol red alert relating
            to the Plaintiff and actioned by the United States of America, hereinafter the USA, delivered to the
            Plaintiff at 19 hours and 28 minutes.
        3. The Plaintiff was travelling from Caracas, Venezuela, to Tehran, Islamic Republic of Iran, the IRI or Iran,
            on a special service mission for the Bolivarian Republic of Venezuela, hereinafter the BRV or Venezuela.
        4. The BRV mission order was issued and accepted by the Islamic Republic of Iran (cf. Doc. 2).
        5. The plane that transported the Plaintiff was authorized by RCV’s competent bodies to land at Sal airport
            in order to refuel the plane so that it could continue its journey to Iran.
        6. On 9 April 2018, the Plaintiff was named as Special Envoy of the Government of Venezuela (cf. Doc. 3).
        7. having been given broad powers on behalf of the BRV to take measures aimed at acquiring basic goods
            and services for national social welfare programs, including food, equipment to produce and process
            food, medicine and medical equipment.
        8. The Plaintiff was authorized to deal with government authorities, representatives of institutions and
            companies, both public and private, in order to find practical solutions to complex situations affecting
            Venezuela.
        9. On 1 April 2020, and in the context of the COVID-19 pandemic, the Venezuelan Minister for Foreign
            Affairs charged the Plaintiff with the duty of acquiring much-needed humanitarian resources for
            Venezuela.
        10. With this aim, the Venezuelan Minister for Foreign Affairs informed the Plaintiff that, as well as his
            normal efforts to obtain food and medicines, he was charged, in this specific case, with negotiating with
            organizations in the IRI.
        11. On 8 June 2020, the IRI Embassy in the BRV sent a Verbal Note to the Venezuelan Minister for Foreign
            Affairs (cf. Doc. 4).
        12. The Verbal Note was sent prior to the visit of the Plaintiff to the IRI and contained confirmation of the
            Plaintiff’s meetings between 13 and 16 June 2020, regarding the purchase of the food and medicines
            Venezuela needed as a matter of urgency.
        13. On 8 June 2020, the Venezuelan Minister for Foreign Affairs confirmed receipt of the Verbal Note that
            had been sent on the same day by the Iranian Embassy in Venezuela (cf. Doc. 5).
        14. On 12 June 2020, the Plaintiff was detained at the airport on the island of Sal, in Cape Verde, during a
            technical stop for refueling, supposedly at the request of the USA.


                                                                                                              [initial]
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        15. On 13 June 2020, the Venezuelan Minister for Foreign Affairs sent a communication to the Cape
            Verdean Minister for Foreign Business, Communities and Defense, in which he invoked immunity of
            [sic] in accordance with international law. He confirmed that, at the time he was imprisoned, the
            Plaintiff was acting on behalf of Venezuela, with the objective of obtaining medical supplies, medicines
            and food of which Venezuela had urgent need in the context of the COVID-19 pandemic (cf. Doc. 6).
        16. On the same day, 13 June 2020, the Venezuelan Minister for Foreign Affairs sent an additional
            communication to the Cape Verdean Minister for Foreign Business, Communities and Defense, in which
            he again invoked immunity of the Plaintiff in accordance with international law (cf. Doc. 7).
        17. On 14 June 2020, the Ambassador of Venezuela in the Republic of Senegal (accredited before Cape
            Verde, the Republic of Gambia, the Republic of Guiné-Bissau and the Islamic Republic of Mauritania)
            sent a communication to the Minister of Foreign Affairs in Cape Verde (cf. Doc. 8).
        18. The Ambassador explained that the Plaintiff had travelled as a representative of the President of
            Venezuela, Nicolás Maduro Moros, who could not leave Venezuela whilst he was guiding and leading
            the country in the fight against the COVID-19 pandemic.
        19. The Ambassador also explained that the Plaintiff enjoyed, nevertheless, the same ratione personae
            immunity as the President of Venezuela would have if he had travelled to Cape Verde, and that this
            immunity has not been renounced by Venezuela.
        20. However, the BRV protested before the Government of Cape Verde in relation to the detention of the
            Plaintiff,
        21. by means of written notes sent by the Embassy of the BRV to the Embassy of Cape Verde in Dakar,
        22. and by means of letters to the Venezuelan Minister for Foreign Affairs.
        23. The Venezuelan Minister for Foreign Affairs responded to the written note from the Embassy of the
            BRV as per the document annexed.

        24. The detention of the Plaintiff is illegal because it constitutes interference and intrusion into affairs of
            the RBC on the part of the RCV and the USA.
        25. The United Nations Charter (the “UN Charter”) is a treaty. As a member of the UN, Cape Verde is a part
            of this UN Charter. Article 103 of the United Nations Charter establishes that “[i]n the case of conflict
            between the obligations of the Members of the United Nations arising from this Charter and its
            obligations arising from any other international treaty, its obligations arising from this Charter shall
            prevail”. The consequence generated by Article 103 of the UN Charter is that, for example, in the case
            of conflict between the obligations of Cape Verde according to the UN Charter and its obligations
            according to the 2003 United Nations Convention against Corruption (the “UNCAC”),1 the 2000 United
            Nations Convention against Transnational Organized Crime (the “UNTC”)2 or an ad hoc extradition
            treaty, the obligations of Cape Verde according to the UN Charter prevail.
        26. Article 2(1) of the United Nations Charter provides for sovereign equality of Countries. 3 In fact, both
            conventions establish that the Member Countries should fulfil their obligations under these
            conventions in a way that is consistent with the principles of sovereign equality and territorial




    1
      Cape Verde signed the UNCAC on 23 April 2008. The USA signed the UNCAC on 30 October 2006. We observe
    that at the moment of depositing its instrument of ratification, the USA did not inform the Secretary-General of
    the UN, as per Article 44(6)(a) of the UNCAC, as to whether it would consider the UNCAC to be legal grounds for
    cooperation in extradition processes with other countries that were part of the UNCAC.
    2
      Cape Verde signed the UNTC on 15 July 2004. The USA signed the UNTC on 3 November 2005. We observe that
    at the moment of depositing its instrument of ratification, the USA did not inform the Secretary-General of the
    UN, as per Article 16(5)(a) of the UNCAC, as to whether it would consider the UNCAC to be legal grounds for
    cooperation in extradition processes with other countries that were part of the UNCAC.
    3
      UN Charter, Article 2(1).
                                                                                                       2/2 [initial]
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            integrity of the Countries and with non-intervention in internal matters of other Countries. 4
        27. The principle of sovereign equality is one of the basic principles of international Law. One of the
            corollaries of sovereign equality of the Countries is the basic duty of each Country to not interfere in
            internal affairs of other Countries.
        28. In dealing with the principle of non-intervention, the International Court of Justice (the “ICJ”) declared
            that “[the] principle of non-intervention is the sovereign right of each Country to conduct its affairs
            without outside interference; … The Court considers that this is an integral part of common international
            Law”.5
        29. For example, on 11 June 2020 (one day before the imprisonment and detention of the Plaintiff), the
            USA declared that its sovereignty was under threat due to an investigation by the International Criminal
            Court (the “ICC”) into employees of the US Government in connection with supposed crimes in a
            territory over which the ICC has jurisdiction. 6
        30. Clearly, imprisonment and extradition of employees of a foreign Government violates the sovereignty
            of that Country. Neither the state of emergency or the existence of an INTERPOL request for pre-trial
            detention pending extradition (that is, the Red Alert) releases CV [Cape Verde] from its obligations
            arising from international law, in particular the obligation to not interfere in matters of other sovereign
            Countries. Venezuela invokes its own rights of sovereignty as a Country. Nevertheless, the fact that Mr.
            Saab recommended a local attorney does not change the fact that Venezuela has the right to oppose
            the violation of its sovereign rights and to insist that interference in its affairs be quickly brought to an
            end. As such, it cannot be said that the extradition procedures will be continued. Neither Country can
            invoke its own internal law to justify non-observance with its international obligations. Furthermore,
            CV cannot place its confidence in the Red Alert because it has been formally contested by Venezuela
            under the terms of article 135 of the INTERPOL Standards on Data Handling. In any case, by its own
            definition in the INTERPOL Rules on Data Handling, a Red Alert is not a prison mandate, but a request
            from INTERPOL to its member countries. In responding to this request, each member country is
            responsible for doing so in accordance with its own international obligations.
        31. Cape Verde has an obligation not to interfere in the internal affairs of Venezuela.
        32. By arresting and subsequently detaining the Plaintiff, Cape Verde interfered in internal affairs of
            Venezuela: it obstructed the Plaintiff in executing his humanitarian mission on behalf of Venezuela, the
            objective of which was to obtain medical supplies, medicines and food which Venezuela had urgent
            need of in the context of the COVID-19 pandemic.
        33. The interference of Cape Verde in the internal affairs of Venezuela also violates article 11.1 of the CRCV
            by means of which Cape Verde is guided “by the principles … of equality between Countries [and] non-
            interference in internal affairs of other Countries”.
        34. The rules of common international Law contained in these treaties do not allow, in any way, for Cape
            Verde interfering in Venezuela’s affairs.
        35. As set out above, Article 2.1 of the UN Charter and the rule of non-intervention, corollary of common
            international law, prohibit such intervention.
        36. The detention of the Plaintiff is also illegal because:
            a) it constitutes violation of the immunity granted to the special envoy of a country travelling to
                 another country,
            b) and it affects his personal inviolability.
        37. Common international law consecrates personal immunity (ratione personae) and the inviolability of
            the special envoy whilst in a high position within the BRV,
        38. Therefore, he cannot be criminally prosecuted by a Third Country, which the RCV is in this case.
        39. Immunity is, thus, a rule well-established in International Law and that, in one of its less contested



    4
      Article 4 of the UNTC; Article 4 of the UNCAC.
    5
      Military and Paramilitary Activities in and against Nicaragua (Nicaragua v United States of America)
    (Substantial Part, Ruling) [1986] ICJ Rep 14, para. 202.
                                                                                                             2/3 [initial]
    6

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            aspects, consists of personal inviolability that protects governors against coercive measures when
            visiting foreign countries (prison or detention, for example) and against offenses to their person and to
            their dignity, allowing the beneficiary of this immunity to be exempt from a legal proceedings in the
            courts of a foreign Country.
        40. The recognition of immunity aims precisely to guarantee the independence of Countries from each
            other and for officials of each Country to effectively carry out their functions.
        41. Thus, there is no doubt that to subject an acting official of a foreign Country to detention, hearings,
            measures or acts aimed at gathering evidence, or to notification of the charges brought against them,
            interferes or can interfere with the carrying out of their function.
        42. Immunity from criminal jurisdiction and inviolability are absolute, being justified by the need to allow
            the government officials to carry out their functions without being the object of coercive measures.
        43. Furthermore, we add that the President of Venezuela, Nicolás Maduro Moros, enjoys ratione personae
            immunity.
        44. If the President of Venezuela were to travel to Cape Verde, the Cape Verdean authorities would be
            obliged not to practice any act of authority at all against him.
        45. The President of Venezuela cannot leave Venezuela whilst he is guiding and leading the country in the
            fight against the COVID-19 pandemic.
        46. In his place, the President of Venezuela authorized and sent the Plaintiff to represent him in foreign
            affairs relating to Venezuela.
        47. In this way, the Plaintiff enjoys enjoys ratione personae immunity that the President of Venezuela
            would have enjoyed had he traveled to Cape Verde on 12 June 2020, and this immunity has not been
            renounced by Venezuela. 7
        48. In effect, and as set out above, the Government of Venezuela informed the Government of Cape Verde
            that the Plaintiff enjoyed immunity,
        49. following the Advisory Opinion of the International Court of Justice (the “ICJ”) in Cumaraswamy, the
            Government of Cape Verde should now make the courts of Cape Verde aware of the immunity of the
            Plaintiff.
        50. What precedes means that, upon arresting and detaining the Plaintiff, the authorities of Cape Verde
            took coercive measures that obstructed the Plaintiff in the carrying out of his functions as a special
            envoy of the BRV and took action in a situation over which no body or entity in Cape Verde had
            jurisdiction or competence.
        51. The ratione personae immunity of the Plaintiff has been violated.
        52. Finally, the detention of the Plaintiff is illegal because it is based on a Red Alert issued on 13 June 2020,
            when the detention occurred on 12 June 2020.
        53. If, on 12 June 2020 there was no red alert in the Interpol data handling system,
        54. this means that the alert does not exist under which the Attorney-General of the RCV ordered the
            detention of the Plaintiff under article 39 of the LCJIMP (Law n.° 66/VIII/2001, of 29 August),
        55. With information relating to the Plaintiff being quickly entered into the Interpol processing system to
            justify his arrest on 13 June.
        56. Also, the red alert is not an international detention mandate, merely a request for identification and
            localization of a person aimed at pre-trial detention and extradition.
        57. Interpol can certainly not oblige any of the member countries to detain any person referred to in a red
            alert,
        58. and any person who is the object of this alert is considered to be presumably innocent until their guilt
            can be reasonably demonstrated by a due and fair legal proceedings.
        59. There being no valid red alert relating to the Plaintiff there is no jurisdiction for the courts of Cape Verde
            to carry out the request for pre-trial detention, based on article 39 of the LCJIMP.
        60. From an illegal act of international law by the Country of Cape Verde, which is the detention of the
            Plaintiff in his capacity as special envoy of the BRV, there arises no jurisdiction for the RCV and its Courts
            to uphold an illegal detention carried out by its police authorities.

    7

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       61. The result of that set out is that the imprisonment of the Plaintiff, whilst a beneficiary of diplomatic
           immunity and personal inviolability granted by common international law, was a detainment that was
           ordered by an incompetent body, because the Cape Verde courts have no jurisdiction over the Plaintiff.


            In these terms, and in others of applicable law, we request that the detention of the Plaintiff be
       considered illegal on the grounds invoked and, under line b) of article 18 of the Criminal Code, we request
       the immediate release of the Plaintiff, ALEX NAIM MORAN SAAB.



       We expect and await JUSTICE.



       The Attorney, with authority in the proceedings,



       [signature]
       José Manuel Pinto Monteiro
       C.P. n.° 15/01
       NIF [taxpayer number] 103135243


       [stamp:]
       JOSÉ MANUEL PINTO MONTEIRO
       ATTORNEY
       Tel.:(238) 291 6363
       Fax: (238) 291 3745
       C.P. 158-C – [illegible] – CAPE VERDE




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      Processo: Habeas Corpus
      Requerente: Alex Naim Moran Saab
      Instância: STJ



      EXCELENTÍSSIMA SENHORA
      PRESIDENTE DO SUPREMO TRIBUNAL DE JUSTIÇA

      EXCELÊNCIA,


      PRAIA, 17 de Junho de 2020



      ALEX NAIM MORAN SAAB, id. nos autos, ora detido na Cadeia Central de Ribeirinha, Mindelo,
      S. Vicente, vem, por este meio e ao abrigo dos artigos 18.c) e ss do CPP, requerer a providência
      de HABEAS CORPUS, o que faz nos termos e pelos motivos seguintes:

      1.     O Requerente foi detido no dia 12 de Junho de 2020, pelas 19 h 28 m, na ilha do Sal,
             Cabo Verde, doravante RCV,
      2.     alegadamente com base na existência, à data de 13 de Junho de 2020 (V. Doe. 1), de um
             alerta vermelho da lnterpol referente ao Requerente e colocado pelos Estados Unidos da
             América, doravante USA, entregue ao Requerente às 19h:28m.
      3.     O Requerente viajava de Caracas, Venezuela, para Teerão, República Islâmica do Irão,
             RII ou Irão, em missão especial de serviço da República Bolivariana de Venezuela,
             doravante RBV ou Venezuela.
      4.     A ordem de missão da RBV foi emitida e aceite pela República Islâmica do Irão (V. Doe.
             2).
       5.    O avião que transportava o Requerente foi autorizado pelas entidades competentes da
             aeronáutica civil de RCV a aterrar no aeroporto do Sal e com a finalidade de
             abastecimento do avião em combustível e seguir viagem para o Irão.
      6.     Em 9 de abril de 2018, o Requerente foi nomeado como Enviado Especial do Governo da
             Venezuela (V. Doe. 3).
      7.     tendo recebido amplos poderes em nome da RBV para tomar providências destinadas à
             aquisição de bens e serviços básicos para programas nacionais de assistência social,
             incluindo alimentos, equipamentos para a produção e processamento de alimentos,
             medicamentos e equipamentos médicos.
       8.    O Requerente foi autorizado a lidar com autoridades governamentais, representantes de
             instituições e empresas, tanto públicas quanto privadas, a fim de encontrar soluções
             práticas para situações complexas que afetam a Venezuela.
      9.     Em 1 de abril de 2020, e no contexto da pandemia de COVID-19, o Ministro das Relações
             Exteriores da Venezuela encarregou o Requerente da responsabilidade de adquirir
             recursos humanitários de grande necessidade na Venezuela.
       10.   Com esse objetivo, o Ministro das Relações Exteriores da Venezuela informou o
             Requerente de que, além de seus esforços habituais para obter alimentos e remédios,
             havia sido encarregado, neste caso específico, de negociar com organizações na RII.
       11.   Em 8 de junho de 2020, a Embaixada da RII na RBV enviou uma Nota Verbal ao Ministério
             das Relações Exteriores da Venezuela (V. Doe. 4).
       12.   A Nota Verbal foi enviada anteriormente à visita do Requerente à RII e continha uma
             confirmação das reuniões do Requerente entre 13 e 16 de junho de 2020 relacionadas à
             compra de alimentos e medicamentos necessitados com urgência pela Venezuela.
       13.   Em 8 de junho de 2020, o Ministério das Relações Exteriores da Venezuela acusou o
             recebimento da Nota Verbal que havia sido enviada no mesmo dia pela Embaixada do lrã
             na Venezuela (V. Doe. 5).
       14.   Em 12 de junho de 2020, o Requerente foi detido no aeroporto da ilha do Sal, em Cabo
             Verde, durante uma escala técnica para reabastecimento, supostamente a pedido dos
             EUA.


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       15.   Em 13 de junho de 2020, o Ministro das Relações Exteriores da Venezuela enviou uma
             correspondência ao Ministro dos Negócios Estrangeiros, Comunidades e Defesa de Cabo
             Verde, no qual invocou a imunidade do em conformidade com o direito internacional. Ele
             afirmou ainda que, no momento de sua prisão, o Requerente estava atuando em nome
             da Venezuela com o objetivo de obter suprimentos médicos, remédios e alimentos
             necessitados com urgência pela Venezuela no contexto da pandemia de COVID-19 (V.
             Doe. 6).
       16.   No mesmo dia, 13 de junho de 2020, o Ministro das Relações Exteriores da Venezuela
             enviou uma correspondência adicional ao Ministro dos Negócios Estrangeiros,
             Comunidades e Defesa de Cabo Verde, na qual novamente invocou a imunidade do
             Requerente em conformidade com o Direito internacional (V. Doe. 7).
       17.   Em 14 de junho de 2020, o Embaixador da Venezuela na República do Senegal (acreditado
             perante Cabo Verde, a República da Gâmbia, a República da Guiné-Bissau e a República
             Islâmica da Mauritânia) enviou uma correspondência ao Ministério das Relações Exteriores
             em Cabo Verde (V. Doe. 8).
       18.   O Embaixador explicou que o Requerente viajou como representante do Presidente da
             Venezuela, Nicolás Maduro Moras, que não pode deixar a Venezuela enquanto guia e
             conduz no país no combate à pandemia de COVID-19.
       19.   O Embaixador explicou ainda que o Requerente goza, portanto, da mesma imunidade
             ratione personae de que o Presidente da Venezuela teria desfrutado se tivesse viajado
             por Cabo Verde, e essa imunidade não foi renunciada pela Venezuela.
       20.   Portanto, a RBV protestou perante o Governo de Cabo Verde em relação à detenção do
             Requerente,
       21.   com notas escritas enviadas pela Embaixada da RBV à Embaixada de Cabo Verde em
             Dakar,
       22.   e por cartas do Ministro do Poder Popular e das Relações Exteriores da RBV enviadas ao
             Ministro dos Negócios Estrangeiro da RCV.
       23.   O Ministro dos Negócios Estrangeiros da RCV respondeu à nota escrita da Embaixada da
             RCV conforme documento em anexo.

       24.    A detenção do Requerente é ilegal por constituir interferên cia e ingerência nos assuntos
              da RBC por parte da RCV e dos USA.
       25.    A Carta das Nações Unidas (a "Carta da ONU") é um tratado. Como membro da ONU,
              Cabo Verde está vinculado à Carta da ONU. O Artigo 103 da Carta das Nações Unidas
              estabelece que "[e]m caso de conflito entre as obrigações dos Membros das Nações
              Unidas decorrentes da presente Carta e suas obrigações decorrentes de qualquer outro
              acordo internacional, suas obrigações decorrentes da presente Carta prevalecerão". A
              consequência gerada pelo Artigo 103 da Carta da ONU é que, por exemplo, em caso de
              conflito entre as obrigações de Cabo Verde segundo a Carta da ONU e suas obrigações    1
              segundo a Convenção das Nações Unidas contra a Corrupção de 2003 (a "CNUCC"), a
              Convenção das Nações Unidas contra o Crime Organizado Transnacional de 2000 (o
              "CNUCCOT")2 ou um tratado de extradição ad hoc, prevalecem as obrigações de Cabo
              Verde segundo a Carta da ONU.                                                        3
       26.    O Artigo 2(1) da Carta das Nações Unidas prevê a igualdade soberana dos Estados. De
              fato, ambas as convenções estabelecem que os Estados Partes devem cumprir suas
              obrigações sob essas convenções de maneira consistente com os princípios de igualdade




                                                                                                        outubro de
       1
         Cabo Verde ratificou a CNUCC em 23 de abril de 2008. os· EUA ratificaram a CNUCC em 30 de
                                                                                 o  de  ratificação,  os  EUA não
       2006. Observamos que no momento do depósito de seu instrument
                                                                                     se  considerari  am  a CNUCC
       informaram o Secretário- Geral da ONU, como no Artigo 44{6}(a) da CNUCC,
                                                                                             Parte da  CNUCC.
       como base legal para a cooperação em processos de extradição com outros Estados
                                                                                                          em 3 de
       2
         Cabo Verde ratificou a CNUCCOT em 15 de julho de 2004. Os EUA ratificaram a CNUCCOT
                                                                                                            os EUA
       novembro de 2005 . Observamos que no momento do depósito de seu instrument o de ratificação,
                                                                                                    CNUCCOT, se
       não informaram o Secretário-Geral da ONU , como disposto no Artigo 16{5}{a) da
                                                                                                        com outros
       considerariam a CNUCCOT como base legal para a cooperação em processos de extradição
       Estados Partes da CNUCCOT.
       3
         Carta da ONU, Artigo 2(1).

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             soberana e integridade territorial dos Estados e de não intervenção nos assuntos internos
             de outros Estados4 •
       27.   O princípio da igualdade soberana é um dos princípios básicos do Direito internacional.
             Um dos corolários da igualdade soberana dos Estados é o dever de cada Estado de não
             intervir nos assuntos internos de outro Estado.
       28.   Ao abordar o princípio da não-intervenção, o Tribunal Internacional de Justiça (o "TIJ'')
             declarou que "[o] princípio da não-intervenção envolve o direito de todo Estado soberano
             de conduzir seus negócios sem interferên cia externa; ... O Tribunal considera que ele é
                                                                            5
             parte integrante do Direito internacional consuetudinário".
       29.   Por exemplo, em 11 de junho de 2020 (um dia antes da prisão e detenção do Requerente),
             os EUA declararam que sua soberania estava ameaçada por uma investigação do Tribunal
             Penal Internacional (o "TPI") contra funcionários do Governo dos EUA      em conexão com
                                                                                   . 6
             supostos crimes   em um  território sobre o qual o TPI tem jurisdição
       30.   Claramente, a prisão e extradição de funcionários de um Governo estrangeiro viola a
             soberania desse Estado. Nem o estado de calamidade nem a existência de um pedido de
             prisão provisória da INTERPOL pendente de extradição (isto é, o Aviso Vermelho) liberam
             o CV de suas obrigações decorrentes do direito internacional, em particular a obrigação
             de não interferir nos assuntos de outros Estados soberanos. A Venezuela invoca seus
             próprios direitos como soberana como Estado. Portanto, o fato de o Sr. Saab ter indicado
             um advogado local não diminui o fato de que a Venezuela tem o direito de se opor à
             violação de seus direitos soberanos e insiste em que a interferên cia em seus negócios
             seja cessada rapidamente. Como tal, não se pode dizer que os procedimentos de
             extradiçã o serão continuados. Nenhum Estado pode invocar sua própria lei interna para
             justificar a não observância de suas obrigações internacionais. Além disso, a CV não pode
             confiar no Aviso Vermelho porque foi formalme nte contestado pela Venezuela nos termos
             do artigo 135 das Normas da INTERPOL sobre o tratament o de dados. De qualquer forma,
             por sua própria definição nas Regras da INTERPOL para o Tratamento de Dados, um Aviso
             Vermelho não é um mandado de prisão, mas uma solicitação da INTERPOL aos seus países
             membros. Ao responder a essa solicitação, cada país membro permanece responsável por
             fazê-lo de acordo com suas próprias obrigações internacionais.
       31.   Cabo Verde tem a obrigação de não interferir nos assuntos internos da Venezuela.
       32.   Ao prender e subsequentemente deter o Requerente, Cabo Verde interferiu nos assuntos
             internos da Venezuela: impediu o Requerente de executar sua missão humanitária em
             nome da Venezuela, cujo objetivo era obter suprimentos médicos, remédios e alimentos
             necessitados com urgência pela Venezuela no contexto da pandemia de COVID-19.
       33.   A interferên cia de Cabo Verde nos assuntos internos da Venezuela também viola o artigo
             11. 1 da CRCV e segundo a qual Cabo Verde se guia "pelos principias ... da igualdade
             entre os Estados [e] da não ingerencia nos assuntos internos dos outros Estados".
       34.   As regras Direito internacional consuetudinário contidas nesses tratados, não permite,
             de forma alguma, que Cabo Verde interferir nos assuntos da Venezuela.
       35.   Como detalhado acima, o Artigo 2.1 da Carta da ONU e a regra de não-intervenção,
             corolário do Direito internacional consuetudinário, proíbem tal intervenção.

       36.   A detenção do Requerente é ainda ilegal por:
       a)    constituir violação da imunidade concedida ao enviado especial de um país em trânsito
             por um outro país,
       b)    e por afectar a sua inviolabilidade pessoal.
       37.   O direito internacional consuetudinário consagra a imunidade pessoal (ratione personae)
             e a inviolabili dade do enviado especial, enquanto ocupante de um alto cargo na RBV,
       38.   Que, por isso, não pode ser perseguido penalmente por um Estado Terceiro, como é a
             RCV neste caso.
       39.   A imunidade é, assim, uma regra bem estabelecida no Direito Internacional, e que, num
             dos aspectos, menos contestados, consiste na inviolabili dade pessoal que protege os
             governantes em visita ao estrangeiro contra medidas coercitivas (a prisão ou detenção,
             por exemplo) e contra ofensas à sua pessoa e à sua dignidade, permitind o ao beneficiário

       4
        Artigo 4 CNUCCOT; Artigo 4 CNUCC.
                                                                                                    América)
       5
        Atividades Militares e Paramilitares em e contra a Nicarágua (Nicarágua v Estados Unidos da
       (Parte substantiva, Acórdão) [1986] 10 Rep 14, para. 202 .



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             dessa imunidade subtrair-se a um processo judicial diante dos tribunais de um Estado
             estrangeiro.
       40.   O reconhecimento da imunidade visa precisamente garantir a independência dos Estados
             uns dos outros e a eficácia no exercício das funções dos responsáveis de cada Estado.
       41.   Assim, não há dúvidas que sujeitar um responsável de um Estado estrangeiro em funções
             a detenção, a medida de coacção, a medida ou acto destinado a recolha de prova, ou a
             notificaçã o da acusação deduzida contra ele, interfere ou pode interferir no exercício
             das funções .
       42.   A imunidade de jurisdição penal e a inviolabilidade são absolutas, justificando-se pela
             necessidade de permitir aos governantes o desempenho de suas funções sem que eles
             sejam objeto de medidas coercitivas.
       43.   Acresce ainda que o Presidente da Venezuela, Nicolás Maduro Moros, goza de imunidade
             raUone personae.
       44.   Caso o Presidente da Venezuela viajasse para Cabo Verde, as autoridades de Cabo Verde
             seriam obrigadas a não praticar nenhum ato de autoridade contra ele.
       45.   O Presidente da Venezuela não pode deixar a Venezuela enquanto conduz e guia o país
             no combate à pandemia causada pelo COVID-19.
       46.   Em seu lugar, o Presidente da Venezuela autorizou e enviou o Requerente para
             representá-lo na condução de assuntos externos referentes à Venezuela.
       47.   Dessa forma, o Requerente goza da mesma imunidade ratione personae que o Presidente
             da Venezuela teria desfrutado caso houvesse transitado por Cabo   Verde em 12 de junho
                                                                            7
             de 2020, e essa imunidade não foi renunciada pela Venezuela.
       48.   Com efeito, e como detalhado supra, o Governo da Venezuela informou o Governo de
             Cabo Verde de que o Requerente gozava de imunidade,
       49.   seguindo a Opinião Consultiva do Tribunal Internacional de Justiça (o "TIJ") em
             Cumaraswamy, o Governo de Cabo Verde deve agora levar a imunidade do Requerente
             ao conhecimento dos tribunais em Cabo Verde.
       50.   O que precede significa que, ao prender e deter o Requerente, as autoridades de Cabo
             Verde adotaram medidas coercitivas que prejudicam o Requerente no desempenho das
             suas funções enquanto enviado especial da RBV e agiram numa situação em relação
             nenhum órgão ou entidade de Cabo Verde tinha jurisdição e competência.
       51.   A imunidade ratione personae do Requerente foi violada .

       52.   Por último, a detenção do Requerente é ilegal por se basear num Red Alert emitido no
             dia 13 de Junho de 2020, quando a ocorreu no dia 12 de Junho de 2020.
       53.   Ora, se no dia 12 de Junho de 2020 não havia qualquer alerta vermelho no sistema de
             processamento de dados da lnterpol,
       54.   significa que inexiste o pressuposto ao abrigo do qual a Procurado  ria-Geral da RCV de
             ordenar a    detenção   do  Requerente  ao  abrigo do  artigo 39. 0
                                                                                 da  LCJIMP (Lei n. º
             66/Vlll/20 01, de 29 de Agosto),
       55.   tendo sido à pressa introduzido dados no sistema de processamento da lnterpol
             referentes ao Requerente e para justificar a sua detenção em 13 de Junho.
       56.   Por outro, o alerta vermelho não constitui um mandato de detenção internacional, mas
             apenas um pedido de identificaç ão e localização de uma pessoa com vista à sua detenção
             provisória e de sua extradição.
       57.   É seguro que a lnterpol não pode obrigar qualquer dos países membros a deter qualquer
             pessoa referenciada num alerta vermelho,
       58.   e qualquer pessoa objecto desse alerta é considerada presumivelmente inocente até que
             a sua culpabilidade seja razoavelmente demonstrada por um devido processo legal e
             equitativo .
       59.   Não havendo alerta vermelho válido em relação ao Requerente falha e falta a jurisdição
             dos tribunais de Cabo Verde para dar sequência ao pedido de detenção provisória, com
             base no artigo 39. º da LCJIMP.

       60.   De um acto ilícito em direito internacional do Estado de Cabo Verde, que é a detenção
             do Requerente na sua qualidade de enviado especial da RBV, não pode derivar qualquer
             jurisdição da RCV e competência dos seus Tribunais para a manter uma detenção ilícita
             efectuada pelas suas autoridades policiais.




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       61.   Resulta, pelo exposto, que a prisão do Requerente, enquanto beneficiário da imunidade
             diplomática e da inviolabilidade pessoal conferida pelo direito internacional
             consuetudinário, configura-se como detenção ordenada por entidade incompetente já
             que os tribunais de cabo verde não têm qualquer jurisdição sobre o Requerente.

             Nestes termos e nos mais de direito, requer que a detenção do Requerente seja
       considerada ilegal pelos fundamentos invocados e, ao abrigo da al. b) do artigo 18.º do Código
       Penal, se requer seja imediatamente restituído o corpo e posto liberdade o Requerente, ALEX
       NAIM MORAN SAAB.


       Espera e aguarda JUSTIÇA.


       O Advogado, com procuração nos autos,


      ~ ~~o Pvi-4 kvfdiv
       José Manuel Pinto Monteiro
       C.P. n. º 15/01
       NIF 103135243




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                                                                                            19th June 2020




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